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      ADVERSARY PROCEEDING STATUS CONFERENCE PROCEDURES
                  JUDGE DEBORAH J. SALTZMAN


        1.      The court will set an initial status conference in all adversary
  proceedings to be held approximately 60 days after the matter is filed. All parties
  must appear in person at the initial status conference in person. Counsel
  appearing at the initial status conference must be trial counsel. Unless otherwise
  ordered by the court, parties and counsel may attend subsequent status
  conferences telephonically in accordance with Judge Saltzman’s telephonic
  appearance procedures, which are available on the court’s website,
  www.cacb.uscourts.gov, by clicking on “Judges,” and then the judge’s name.

           2.      A thorough status report must be filed 14 days before each status
  conference. The status report must be prepared on the Local Rule Form F 7016-
  1.STATUS.REPORT. This form is available on the court’s website, and the
  plaintiff must attach a copy of the form to this document as Exhibit A. Failure to
  file a joint status report may result in the imposition of monetary sanctions and/or
  the status conference being continued, and parties being ordered to redo the
  status report.

         3.      If a party does not cooperate in preparation of a joint status report,
  the other party should follow the procedure set forth in LBR 7016-1(a)(3) for filing
  a unilateral status report.

        4.    A status report is not required only in the following limited
  circumstances:

         A.      Prior to the date scheduled for the status conference, the parties
         have filed and the court has entered an order approving a stipulation that
         resolves all issues raised by the adversary proceeding and provides either
         for dismissal of the action in its entirety or the entry of judgment in the
         action.

         B.      Defaults have been entered as against all defendants and the
         plaintiff has filed and served a motion for default judgment prior to the date
         scheduled for the status conference.

         C.     The parties have filed, and prior to the date scheduled for the status
         conference, the court has entered an order approving, a stipulation
         continuing the status conference to a later date (in which case a written
         status report must be filed not less than 14 days in advance of the
         continued status conference date).

         D.      The court has expressly relieved the parties of the obligation to file
         a written status report.



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         5.     Unless one of the four exceptions outlined above applies, status
  reports must be filed in a timely manner. Parties that fail to do so will be subject
  to a minimum sanction of $150, or such other sanctions as may be warranted
  under the circumstances or allowed under Local Bankruptcy Rule 7016-1(f).

         6.     Failure to appear for a status conference may result in a minimum
  sanction of $300, dismissal of the adversary proceeding for failure to prosecute
  or such other sanctions as may be warranted under the circumstances or allowed
  under Local Bankruptcy Rule 7016-1(f).

         7.     If a response to the complaint is not timely filed:

                 A.    The plaintiff should file a request for entry of default by the
         clerk. The plaintiff also may request entry of a default judgment by filing
         and serving (if necessary) an appropriate motion; see Fed. R. Bankr. P.
         7055 and Local Bankruptcy Rule 7055-1;

                AND

               B.     No later than ten days prior to the status conference, each
         appearing party must file a Unilateral Status Report (containing the
         information set forth in Sections A-E of Local Rule Form F 7016-
         1.STATUS.REPORT) as required by Local Bankruptcy Rule 7016-1(a)(3).

         8.    Unless otherwise ordered by the court, within seven days after the
  status conference, the plaintiff must submit a scheduling order that complies with
  Local Bankruptcy Rule 7016-1(a)(4).

         9.     Stipulations for extensions of time are ineffective unless approved
  by the court. The court is likely to deny requests to extend a response deadline to
  a date within five days of the hearing date unless the hearing date is continued to
  a date which permits the court adequate time to consider the papers.

        10.   A copy of these instructions—including Exhibit A, Local Rule Form
  F 7016-1.STATUS.REPORT—must be attached to every copy of the complaint
  served upon a party, and the affidavit of service must state that these instructions
  were served along with a copy of the summons and complaint.




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                        EXHIBIT A
               (The plaintiff shall attach a copy of Local Rule Form
                        F 7016-1.STATUS.REPORT here)




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